          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      BRYSON CITY DIVISION

                     CRIMINAL CASE NO. 2:10cr14-5


UNITED STATES OF AMERICA                 )
                                         )
                                         )
                       vs.               )     ORDER
                                         )
                                         )
JASMINE MICHELLE LITTLEJOHN.             )
                                         )

     THIS MATTER is before the Court on the Defendant’s Motion to

Permit News Media to Have Access to the Defendant While in Custody

[Doc. 104].

     The Defendant is currently detained and awaiting sentencing. During

the period that the Defendant has been in federal custody, her infant

daughter passed away while in the care of a relative. As a result of the

infant’s death, and the activities of Swain County DSS related to that death,

media representatives have requested access to the Defendant.

The Defendant now files this motion seeking permission to meet with

members of the media while in custody. The Government has been

advised of the Defendant’s request and respectfully takes no position on

the motion. [Doc. 103].




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      For the reasons stated in the Defendant’s motion, the Court will allow

the Defendant to speak with members of the media while in custody,

subject to the following conditions. First, any media interviews that are

conducted shall be in full compliance with all security policies of the

detention facility where the Defendant is housed and the United States

Marshals Service and with a minimum of inconvenience to these entities.

Second, the Defendant’s counsel in her pending criminal case shall be

present during any media contact and shall maintain authority over such

contact.

      IT IS, THEREFORE, ORDERED that the Defendant’s Motion to

Permit News Media to Have Access to the Defendant While in Custody

[Doc. 104] is ALLOWED upon the conditions stated herein.

      IT IS FURTHER ORDERED that the Clerk of Court shall provide

copies of this Order to counsel for the Defendant, James W. Kilbourne, Jr.,

counsel for the Government, Don Gast, and the United States Marshals

Service.
                                       Signed: March 4, 2011
      IT IS SO ORDERED.




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